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 7

 8                           UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10
     HOOPA VALLEY TRIBE,                            )   Civ. No. 1:20-cv-1814-JLT-EPG
11                                                  )
12         Plaintiff,                               )
                                                    )   DECLARATION OF MICHAEL
13         v.                                       )   ORCUTT IN SUPPORT OF
                                                    )   PLAINTIFF’S MOTION FOR
14   UNITED STATES BUREAU OF                        )   PRELIMINARY INJUNCTION
     RECLAMATION; DEBRA ANNE HAALAND,               )
15
     in her official capacity as Secretary of the   )   Date: January 20, 2023
16   Interior; MARIA CAMILLE CALIMLIM               )   Time: 9:00 am
     TOUTON, in her official capacity as            )   Courtroom: 4 – 7th floor, Fresno
17   Commissioner of the United States Bureau of    )   Hon. Jennifer L. Thurston
     Reclamation; ERNEST A. CONANT, in his          )
18   official capacity as United States Bureau of   )
     Reclamation California-Great Basin Regional    )
19
     Director; and UNITED STATES                    )
20   DEPARTMENT OF THE INTERIOR                     )
                                                    )
21         Defendants.                              )
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     DECLARATION OF MICHAEL ORCUTT RE
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 1          I, Michael Orcutt state and declare as follows:

 2          1.      I am a fisheries biologist and an enrolled member of the Hoopa Valley Tribe

 3   (Tribe). I am presently employed by the Tribe, located on the Hoopa Valley Indian Reservation

 4   in Northern California, where I continue my tenure of over 35years as Director of the Fisheries

 5   Department.

 6          2.      In my work with the Hoopa Valley Tribe Fisheries Department, and in my role as

 7   Fisheries Director, I am intimately involved and have substantial personal knowledge of fisheries

 8   management issues in the Trinity River Basin, including operations of the Trinity River
 9   Restoration Program (TRRP) and Trinity Management Council (TMC), and implementation of
10   the 2000 Trinity River Record of Decision (ROD). My professional duties include representing
11   the Hoopa Valley Tribe before state and federal agencies and the U.S. Congress in matters
12   involving restoration of the Trinity River fishery. I also have fished and hunted on the Hoopa

13   Valley Reservation for most of my life and I have witnessed the devastation that the Trinity

14   River Division of the CVP has had on the fishery resources that the Hupa People have depended

15   upon since time immemorial.

16          3.      The Hoopa Valley Tribe was a co-author of the 1999 Trinity River Flow

17   Evaluation Report (the “Flow Study”). The Flow Study recommended a total minimum annual

18   volume of water dependent on water year type but also provided detailed recommendations for

19   specific volumes of releases at specific times of year, along with a discussion of the purpose and

20   benefits of providing those specific volumes at specific times. The Flow Study designed Trinity

21   River Division (TRD) flow release schedules to restore, preserve and propagate natural fish

22   production by reestablishing habitat for the life history stages of anadromous salmonids that

23   inhabit the Trinity River.

24          4.      The flow recommendations in the Flow Study were carefully developed by Hoopa

25   and its partner agency, the U.S. Fish and Wildlife Service, to achieve specific management

26   objectives and habitat restoration purposes on the mainstem Trinity River.

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 1          5.      The Flow Study allocated all available annual flow amounts in the recommended

 2   flow regimes to meet the intended management objectives.

 3          6.      In other words, the timing of the flow releases (the time of year in which the

 4   releases occur) is of critical importance to the effectiveness of the flows and to meeting the goals

 5   and management objectives discussed in the Flow Study.

 6          7.      The Flow Study recommendations were adopted in the Trinity River ROD, which

 7   was approved by Secretary of the Interior Bruce Babbitt and which the Hoopa Valley Tribe

 8   concurred in, through the signature of its Chairman Duane Sherman on December 19, 2000.
 9          8.      The ROD, pursuant to the recommendations in the Flow Study, sets a uniform

10   base flow of 300 cubic feet per second (cfs) across all water years for the time period of October

11   16 through April 1.

12          9.      Since approval of the ROD, there has been no change to winter base flows

13   prescribed in ROD. Until now, the Bureau of Reclamation (BOR) has strictly adhered to the

14   October 16 through April 1 ROD flow schedule.

15          10.     ROD TRD flow releases for each water year (October 1 to September 30

16   annually) are limited to a long term annual average water budget. That budget is further limited

17   by predicted annual hydrology. Annual hydrology estimates are based on California Department

18   of Water Resources Bulletin 120. The ROD has five annual hydrological categories: Extremely

19   Wet, Wet, Normal, Dry, and Critically Dry. The ROD assigns each water year type a volume of

20   TRD water. Pursuant to CVPIA Section 3406(b)(23) the ROD used the best availabile scientific

21   data to quantity and allocate the annual water budget throughout each water year type. The ROD

22   winter TRD base flow allocation is a direct outcome of compliance with the CVPIA’s best

23   available scientific data requirement. The ROD winter base flow enables higher flows to meet

24   habitat requirements in Spring and Summer months, after the water-year type is determined.

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 1          11.     The ROD does not provide for supplemental flow releases during the October 16

 2   through April 1. Accordingly, increasing ROD base flows will decrease flows that the ROD

 3   deems necessary for fishery restoration in other times of year.

 4          12.      The Trinity River Winter Flow Variability (WFV) Project, which is authorized

 5   for immediate implementation by the Department of the Interior, Bureau of Reclamation, would

 6   shift substantial amounts of water (60,000 Acre Feet to 220,000 Acre Feet) for use in winter

 7   months. Since the total annual water volumes are fixed, and since all water is allocated to

 8   specific purposes, the re-allocation of water to winter months will deprive other months of water
 9   and undermine the management objectives recommended in the Flow Study and approved in the
10   ROD with Hoopa’s concurrence.

11          13.     Since the initial proposal of the WFV Project, I have personally repeatedly

12   advised officials of the Department of the Interior and Bureau of Reclamation, and members of

13   the Trinity Management Council (TMC), of Hoopa’s objection and non-concurrence with the

14   WFV Project. Moreover, the Hoopa Valley Tribal Council has written directly to Secretary

15   Haaland and other officials raising concerns about the WFV Project’s violation of Hoopa’s rights

16   and interest under CVPIA Section 3406(b)(23).

17          14.     Hoopa has informed the Secretary that the WFV Project does not comply with the

18   restoration program requirements in the Trinity River ROD and has not undergone sufficient

19   scientific and technical review. There is a lack of data over a sufficiently diverse period of

20   record to reach conclusions on the progress of restoration. Reports are currently being prepared

21   by federal and tribal scientists and need to go through an interdisciplinary scientific process that

22   will synthesize accumulated information. The synthesis reports from that process will inform

23   any refinements that may be proposed to the restoration program. Any such refinements would

24   require the concurrence of the Hoopa Valley Tribe under CVPIA section 3406(b)(23) prior to

25   their implementation.

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 1           15.    Based on Hoopa’s knowledge and experience, Hoopa believes that that the WFV

 2   Project will significantly undermine and impair the Trinity ROD’s goals and objectives by

 3   depriving the river of allocated water in Spring and Summer. Once water is released in winter

 4   months under the WFV Project, it will be lost permanently. If fishery managers determine later

 5   in the year that water previously released in winter is necessary to meet management objectives

 6   in Spring or Summer, it will be too late. That water will have already been used.

 7           16.    At the December 7 meeting of the Trinity Management Council (TMC) (an

 8   advisory body to the Secretary of the Interior), I again voiced Hoopa’s opposition and non-
 9   concurrence to the WFV Project. Despite this opposition and Hoopa’s non-concurrence, the
10   TMC voted 7-1 in favor of implementing the WFV Project, commencing in this current water
11   year.
12           17.    On December 9, 2022, I received a letter from the Chair of the TMC directed to

13   Defendant Ernest Conant, Reclamation California Great Basin Regional Director and Paul

14   Souza, US Fish and Wildlife Service Regional Director that included the TMC’s recommended

15   2023 flow schedule incorporating the WFV Project. A true and correct copy of this letter is

16   attached as Exhibit 1.

17           18.    The December 9 letter confirms that, commencing as early as December 15, 2022,

18   between 16 – 27% of the entire annual water volume under the ROD will be shifted from

19   summer releases to winter releases depending on water year type. This equates to a minimum

20   winter release of 60,000 acre-feet in a critically dry year to 220,000 acre-feet in an extremely wet

21   year. This is an extremely substantial, significant, and dangerous re-allocation and re-purposing

22   of water and it is in conflict with the Flow Study and the ROD. Significantly, the final water

23   year determination is not known until after the winter months. Thus, releases will be made in

24   winter without having full information about what releases will be necessary or allowable in

25   Spring and Summer months. Once the water year is known, however, the winter releases will

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 1   already have been made – and that water will no longer be available for its intended purposes in

 2   Spring and Summer months.

 3          19.     Based on my decades of experience working for the Hoopa Valley Fisheries

 4   Department, including as Fisheries Director, and my specific experience in working with

 5   implementation of the Trinity River ROD and the Trinity River Restoration Program, it is my

 6   belief that the Hoopa Valley Tribe, the Trinity River, and the long term health of the Trinity

 7   River fishery will suffer irreparable harm if the WFV project is not enjoined. By sending water

 8   releases down the river in winter months (between 16-27% of total annual ROD volumes), and
 9   given the limited amount of water available pursuant to the ROD, implementation of the WFV
10   project will necessarily lower and limit the amount of water available to meet ROD objectives in
11   later months. Once the water is sent down the river in the winter, it will be lost forever and
12   unavailable for future use.
13          20.     Implementation of the WFV Project by the Defendants in this case is authorized
14   to commence immediately. Thus, time is of the essence. An injunction is necessary as soon as
15   possible in order to stop the federal Defendants from releasing water down the river pursuant to
16   the WFV Project.
17          I declare under penalty of perjury under the laws of the United States of America that the
18   foregoing statements are true and correct.

19                     15 day of December, 2022.
            DATED this _____

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21                                         ______________________________________

22                                         Michael Orcutt, Fisheries Director

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 1                                   CERTIFICATE OF SERVICE

 2
            I hereby certify that on December 16, 2022, I electronically filed the foregoing with the
 3
     Clerk of the Court using the CM/ECF system, which will send notification of such to the
 4
     attorneys of record.
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 6
                                                         /s/ Thane D. Somerville
 7                                                       Thane D. Somerville

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